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                                                                                                                                                                                                                               EJ-130
  ATTORNEY        on   new WITHOUT ATTORNEY                     sure BAR no 142342                                                                                                      FOR   com, USE my
  NAME1 Christopher C. Cooke

  nan NAME: Murphy Cooke Kobrick LLP
  smssr ADDRESS. 177 Bovet Road. Suite 600
  CITY: San Mateo                                 STATE. CA     ZIP CODE: 94402
  TELEPHONE N0-I650-638-2370                     FAX ~0-
 E-MAIL AEDRESS ccooke@mckllp.com

 AYTORNEY FOR (mm): Mei-Fang Zhang, Yang Zhang, Xue Gao, Bay Area Affordable Hous
                           E]
                    ORIGINAL JUDGMENT cazonoa                    \:]
                                                      ASSIGNEE or RECORD

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF US DISTRICT COURT, ND CAL
     srassnooasss. 1301 Clay Street, #4008
     MAIUNG AIIDRESS:

 cnv mo ZIP cooe: Oakland CA 94612
    emncn NAME‘ Oakland Division

       Plaintiff: MEI-FANG LISA ZHANG, et aI..                                                                                                        “SE "“"'BE“'
                                                                                                                                                              :            -CV-               -JSW
  Defendant: WEI-MAN RAYMOND TSE, et al.,

                                                                                                                                                  [I
                                                                                                                                                      04 07                         04946
                           E]   EXECUTION (Money Judgment)                                                                                                                I-_""iW_i1°iv"              °="
 wmr or                    :1   POSSESSION    or       1:]                                                                                        E1
                           2
                                                                Personal Property                                                                                                                                         »




                                SALE                   :1       Real Pmpony
                                                                                                                                                                                                  I
                                                                                                                                                                          (including Family and Probate)
 1. To the Sheritf or Marshal of the County of: US NORTHERN DISTRICT OF CALIFORNIA
    You are directed to enforce the judgment described below with daily interest and your costs as provided by law.
 2. To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
 3. (Name): MEI-FANG LISA ZHANG, YANG-CHAN ZHANG, XUE HUAN GAO 8. BAY AREA AFFORDABLE HOUSING LLC
    isthe         [E
                 original judgmentcreditor                C]
                                                   assignee of record whose address is shown on this fom1 above the court's name.
4-     Judgment debtor (name, type of legal entity if nota
       natural person, and last known address):
                                                                           9.    :1     See next page for information on real or personal property to be
                                                                                        delivered under a writ of possession or sold under a writ of sale.
                                                                           10S      This writ is issued on a sister-state judgment.
            ""'A“ RAYMOND T55                                              For Items 11-11, see form MC-012 and form MC-013-INFO
       E55 Montgomery Street. Suite 610
       San Francisco‘ CA 94111                                         F   11. Total judgment (as entered                                         or renewed)                                 $838,255.19
                                                                           12. Costs after judgment (CCP 685.090)                                                                             $
                                                                           13. Subtotal (add 11         and 12)                                                                               $______
       E          Additional judgment debtors on next page
                                                                           14. Credits to principal (after credit to

                                                                           15. Principal remaining due                               (subtract 14 from 13) $838,255.19
                                                                                                                                                                          interest)           $


5-     Judgment entered on (date):                                         16. Accrued interest remaining due per CCP                                                                         $3093.75
       2/3/2009                                                                6B5.050(b) (HO! Ofl GC 6103.5 f06S)
       E]         Judgment renewed on (dates):
                                                                                                                                                                                                                              j
6.                                                                         17. Fee for issuance         of writ                                                                               $
                  1'25'2°‘9                                                1a.   Total (add   15, 16,    and 17)                                                                              $§fff[        1-   Z,               '1
                                                                           19.   Levying officer:
7-     N°5°° °7 "'9 Wide" this Wm                                                a.   Add daily interest from date of writ (at
       8-   III
            Z              has not been requested-                                    the Iegalrate o 15 not on G


       I:
       b.                  has been requested (see next page).                        5103-5f99$)-                                                                                            $
                       .           .      .                                      b.   Pay directly to court costs in uded i
                  Jointdebtor information on next page.
              .




8.                                                                                    11 and 17 (Go 6103.5‘ 68637; CCP

  l5EA|-I                                                                             699.520(i))   .   .   .    .       .   .   .    .   .   .   .   .   .       .   .    .                  $
                                                                           20.Cj       The amounts called for in items 11—1 9 are different for each
                                                                                       debtor. These amounts are stated for each debtor on
                                                                                       Attachment 20. ST AT E S D I ST R I C T
                                                                                                                     D
                                                                                                                                                                               Susan Y. Soong
                                                                                                                                                          CO
                                                                                                            E
                                                                                                            IT




                                                                                                                                                              UR
                                                                                                        UN




                                                                                                                                                                  T




                                         ‘Issued on (date 1);   October 21, 2019 '            mark’ by                                                                                                                        Deputy
                                                                                                        NORT




                                                                                                                                                                  NIA




                                                                                                                                                                                                            I
                                                                                                                                                              OR
                                                                                                            HE




                                               NOTICE TO PERSON SERVED: SEE PAGE 3 NFOR IMPORTANT INFORMATION
                                                                                                                                                          IF




                                                                                              L
                                                                                                                R




                                                                                     D     CA                                I ST
                                                                                                                                     R I CT OF                                                                        I       Pegeldl
Form Appmvld lor 001501!!! Use                                                                                                                                                 Code of Civil Procedure. §§ 899.520, 712.010. 715.010
Juddd Cnunei of Clifomia                                                                                                                                                                                 Government Code. § 6103 5
EJ-130 [Rev Jmuery 1. 2015]
                                                                                                                                                                                                                  www.r:ou1rs.cn.gov
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                                                                                                                                        EJ -1 30
I     Plaintiff: MEI-FANG LISA ZHANG, et al.,                                                         V   "SE "UMBER                             )
                                                                                                          04:07-CV-04946
    Defendant: WEI-MAN RAYMOND TSE, et al.


21.   [E         Additional judgment debtor (name, type of legal entity
                 if not a natural person, and last known address):
      THERESA VVONG                                                                    JIAN XIAO
      555 Montgomery Street, Suite 610                                                 737 Chester Street
      San Francisco, CA 94111                                                          Oakland, CA 94607-1938

                                                                                                                                           __]
      I:
                                                                                       (Additional Judgment debtors on Attachment 4)
22.              Notice of sale has been requested by (name and address):


                                                                                                                                           T
23.
      L
      |:]
                                                                       J
            Joint debtor was declared bound by the judgment (CCP 989-994)
                                                                                       L                                                   J
      a. on (date):                                                    a. on (date):
      b. name, type of legal entity if not a natural person, and       b. name, type of legal entity if not a natural person, and
         last known address of joint debtor:                              last known address ofjoint debtor:

                                                                                                                                           7
           C]
                                                                       J
                        Additional costs against certain joint debtors are itemized;
                                                                                       L\:|   Below   {:1    On Attachment 23c
                                                                                                                                           J
24.   |:|        (Writ of Possession or Writ of Sale) Judgment was entered for the following:
           [:1      Possession of real property: The complaint was led on (date):
                    (Check (1 ) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)

           (1)    :1        The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.46. The judgment includes
                            all tenants, subtenants, named claimants, and other occupants of the premises.

           (2)    [:1       The Prejudgment Claim of Right to Possession was NOT sewed in compliance with CCP 415.46.
           (3)    |:]      The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (An occupant not named in the
                           judgment may le a Claim of Right to Possession at any time up to and including the time the levying officer returns
                           to effect eviction, regardless of whether a Prejudgment Claim of Right to Possession was sewed.) (See CCP 415.46
                           and 1174. 3(a)(2).)                                                 ,




           (4)    If the unlawful detainer resulted from a foreclosure (item 24a(3)), or if the Prejudgment Claim of Right to Possession was
                  not served in compliance with CCP 415.46 (item 24a(2)), answer the following:

                  (a)       The daily rental value on the date the complaint was led was $
                  (b)       The court will hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):



      b.   [:1 Possession of personal property.
                    :1If delivery cannot be had, then for the value (itemize in 24e) specied in the judgment or supplemental order.
           G
      c.
      d.   [I  Sale of personal property.
               Sale of real property.
      e. The property is described:         j:]
                                          Below           [:j
                                                        On Attachment 24e




E1-1=°rR~-J-»-~1-mi                                              WRIT OF EXECUTION                                                     P~-=<*=
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                                                                                                                                EJ-130
  Plaintiff: MEI-FANG LISA ZHANG el al.                                                   CASE "UMBER:
                                '       '                                                      107-       V-04946
Defendant: VVEI-MAN RAYMOND TSE, et aI.,                                                  04          C


                                                   NOTICE TO PERSON SERVED

WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice of Levy (form EJ-150).


WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying ofcer is not able to take custody of the property, the levying
officer will demand that you tum over the property. If custody is not obtained following demand, the judgment may be enforced as a
money judgment for the value of the property specied in the judgment or in a supplemental order.


WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within ve days after the date of service on the
occupant or, if service is by posting, within ve days after sen/ice on you, the levying ofcer will remove the occupants from the real
property and place the judgment creditor in possession of the property. Except for a mobile home, personal property remaining on the
premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time
the judgment creditor takes possession of the premises.


EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold in a
foreclosure, you have additional time before you must vacate the premises. If you have a lease for a xed term, such as for a year, you
may remain in the property until the term is up. If you have a periodic lease or tenancy, such as from month-to-month, you may remain
in the property for 90 days after receiving a notice to quit. A blank form Claim of Right to Possession and Notice of Hearing (fonn
CP10) accompanies this writ. You may claim your right to remain on the property by lling it out and giving it to the sheriff or levying
ofcer.


EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
led, you may object to the enforcement of the judgment against you. You must complete the fomr Claim of Right to Possession and
Notice of Hearing (fonn CP1 O) and give it to the sheriff or levying ofcer. A blank form accompanies this writ. You have this right
whether or not the property you are renting was sold in a foreclosure.




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ATTACHMENT 4 TO WRIT OF EXECUTION—ADDITIONAL JUDGMENT DEBTORS


  Victor W. So                             CIS SERVICE, INC.
  708 Franklin Place                       (a Corporation)
  Oakland, CA 94607                        555 Montgomery Street, Suite 610
                                           San Francisco, CA 94111

  PACIFIC BEST GROUP LTD.                  CHRIST INVESTMENT SERVICE
  (type of entity is unknown)              INC.
  c/0 Wei-Man Raymond Tse                   (a Corporation)
  555 Montgomery Street, Suite 610         555 Montgomery Street, Suite 610
  San Francisco,   CA 94111                San Francisco, CA 9411 1

  SOUTH CHINA INVESTMENT INC. (a
  Corporation)
  c/0 Ms. Run Ping Zhou
  3567 Kimberly Road
  Cameron Park, CA 95682
